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19

20                                    UNITED STATES DISTRICT COURT
21
                                  NORTHERN DISTRICT OF CALIFORNIA
22

23
     DEMETRIC DI-AZ, OWEN DIAZ, and                    Case No. 3:17-cv-06748-WHO
24   LAMAR PATTERSON,
                                                       JOINT STIPULATION TO CONTINUE
25                      Plaintiffs,
                                                       THE PRE-TRIAL CONFERENCE AND
26            v.                                       TRIAL; [PROPOSED] ORDER

27   TESLA, INC. dba TESLA MOTORS, INC.;               Pre-trial Conference: April 20, 2020
     CITISTAFF SOLUTIONS, INC.; WEST                   Time: 2:00 p.m.
28
     VALLEY STAFFING GROUP;                            Courtroom: 2, 17th Floor
     SMRH:4843-4171-9481.1                                                 Case No. 3:17-cv-06748-WHO
                                                                      JOINT STIPULATION TO CONTINUE
                                               THE PRE-TRIAL CONFERENCE AND TRIAL; [PROPOSED] ORDER
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 1   CHARTWELL STAFFING SERVICES, INC.;                   Judge: Hon. William H. Orrick
     and DOES 1-50, inclusive,
 2                                                        Trial Date: May 11, 2020
              Defendants.                                 Complaint filed: October 16, 2017
 3

 4   TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 5   RECORD:
 6            Pursuant to Civil Local Rule 6.2, Plaintiffs Owen Diaz and Demetric Di-az (“Plaintiffs”),
 7   and Defendant Tesla, Inc. (“Defendant”) (collectively, the “Parties”), by and through their
 8
     attorneys of record, hereby submit this Joint Stipulation to Continue the Pre-Trial Conference
 9
     date and Trial date. Good cause exists given the unforeseen and difficult circumstances resulting
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     from the Coronavirus Disease 2019 (“COVID-19”) pandemic. As such, the parties request that
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     the Court: (1) extend the Pre-Trial Conference from April 20, 2020 to May 11, 2020, or as soon
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     thereafter as the Court is available, and; (2) continue the Trial date from May 11, 2020 to June 8,
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     2020, or as soon thereafter as the Court is available. Accordingly, the Parties stipulate as
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     follows:
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              WHEREAS, on October 16, 2017, Plaintiffs filed their Complaint in state court;
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                WHEREAS, on November 22, 2017, Tesla removed Plaintiffs’ Complaint to the United
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     States District Court for the Northern District of California;

19            WHEREAS, on December 20, 2018, Plaintiffs were granted leave to amend their

20   complaint to add a defendant, NextSource Inc., and on December 26, 2018, Plaintiffs filed their

21   Amended Complaint adding NextSource, Inc.;

22            WHEREAS, on June 18, 2019, the parties sought one trial continuance from November
23   19, 2019 to March 2, 2020 to allow NextSource Inc., to adequately prepare for trial;
24            WHEREAS, this Court continued the trial date from March 2, 2020 to May 11, 2020,
25   due to a criminal trial taking priority;
26            WHEREAS, other than the continuances related to the newly named defendant
27
     NextSource and a criminal trial on this Court’s docket, there have been no other continuances;
28

     SMRH:4843-4171-9481.1                                                     Case No. 3:17-cv-06748-WHO
                                                                       JOINT STIPULATION TO CONTINUE
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 1            WHEREAS, on December 27, 2019, the Court issued an Amended Pre-trial Order
 2   setting a Pre-Trial Conference for April 20, 2020 at 2 p.m., and trial for May 11, 2020 at 2 p.m.;
 3            WHEREAS, good cause exists given unforeseen and difficult circumstances resulting
 4   from the Coronavirus Disease 2019 (“COVID-19”) pandemic, including but not limited to: state-
 5   wide Shelter In Place Orders, court closures, and witness unavailability; and,
 6
              WHEREAS, the parties share graves concerns as to the availability of witnesses, the
 7
     uneasiness and willingness of jurors to appear and meaningfully participate in the jury process,
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     depending on the status of the “stay at home” order which spans the entire State of California.
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              NOW THEREFORE, it is hereby stipulated by and between Plaintiffs and Defendant,
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     that:
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              (1)      The Pre-Trial Conference be continued to May 11, 2020 at 2 p.m. or as soon
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     thereafter as the Court is available.
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              (2)      Trial be continued to June 8, 2020 at 8:30 a.m., or as soon thereafter as the Court
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     is available.
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                                                      IT IS SO STIPULATED.

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                                                      CALIFORNIA CIVIL RIGHTS LAW GROUP

20                                                    ALEXANDER KRAKOW + GLICK LLP

21
     DATED: April 1, 2020                     By:     _/s/ J. Bernard Alexander____________________
22                                                    Lawrence A. Organ, Esq.
                                                      Navruz Organ, Esq.
23
                                                      Cimone A. Nunley, Esq.
24                                                    J. Bernard Alexander, Esq.
                                                      Attorneys for Plaintiffs
25                                                    DEMETRIC DI-AZ AND OWEN DIAZ
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     SMRH:4843-4171-9481.1                                                       Case No. 3:17-cv-06748-WHO
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                                   SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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 6   DATED: April 1, 2020          By    /s/ Tracey A. Kennedy
                                         TRACEY A. KENNEDY
 7
                                         PATRICIA M. JENG
 8
                                         Attorneys for Defendant
 9                                       TESLA, INC. dba TESLA MOTORS, INC.
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 4
                                             [PROPOSED] ORDER
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 6            Based upon the Parties’ Stipulation, and good cause having been shown, IT IS HEREBY

 7   ORDERED THAT:

 8            (1)      The Pre-Trial Conference is continued to May 11, 2020 at 2 p.m. or as soon

 9   thereafter as the Court is available.

10            (2)      Trial is continued to June 8, 2020 at 8:30 a.m., or as soon thereafter as the Court
11   is available.
12                                                           IT IS SO ORDERED.
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15   Dated: ____________________, 2020                       ____________________________________
                                                                   Hon. William H. Orrick
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     SMRH:4843-4171-9481.1                                                       Case No. 3:17-cv-06748-WHO
                                                                         JOINT STIPULATION TO CONTINUE
                                                  THE PRE-TRIAL CONFERENCE AND TRIAL; [PROPOSED] ORDER
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 1                                       PROOF OF SERVICE
 2                    Demetric Di-Az, Owen Diaz, And Lamar Patterson v. Tesla, Inc.
                                       dba Tesla Motors, Inc., et al.
 3                                USDC Case No. 3:17-cv-06748-WHO
 4                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 5
           At the time of service, I was over 18 years of age and not a party to this action. I
 6
     am employed in the County of Los Angeles, State of California. My business address is
     333 South Hope Street, 43rd Floor, Los Angeles, CA 90071-1422.
 7
              On April 1, 2020, I served true copies of the following document(s) described as
 8   JOINT STIPULATION TO CONTINUE THE PRE-TRIAL CONFERENCE AND
     TRIAL; [PROPOSED] ORDER on the interested parties in this action as follows:
 9
                                  SEE ATTACHED SERVICE LIST
10

11           BY MAIL: I enclosed the document(s) in a sealed envelope or package
     addressed to the persons at the addresses listed in the Service List and placed the
12   envelope for collection and mailing, following our ordinary business practices. I am
     readily familiar with the firm's practice for collecting and processing correspondence for
13   mailing. On the same day that correspondence is placed for collection and mailing, it is
     deposited in the ordinary course of business with the United States Postal Service, in a
14   sealed envelope with postage fully prepaid. I am a resident or employed in the county
15
     where the mailing occurred.

16            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
     the document(s) with the Clerk of the Court by using the CM/ECF system. Participants
17   in the case who are registered CM/ECF users will be served by the CM/ECF system.
     Participants in the case who are not registered CM/ECF users will be served by mail or
18   by other means permitted by the court rules.
19           I declare under penalty of perjury under the laws of the United States of America
     that the foregoing is true and correct and that I am employed in the office of a member of
20   the bar of this Court at whose direction the service was made.
21            Executed on April 1, 2020, at Los Angeles, California.
22

23                                                         /s/ Susie Navarro
24
                                                    Susie Navarro

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                                                                     JOINT STIPULATION TO CONTINUE
                                              THE PRE-TRIAL CONFERENCE AND TRIAL; [PROPOSED] ORDER
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 1                                           SERVICE LIST
 2                    Demetric Di-Az, Owen Diaz, And Lamar Patterson v. Tesla, Inc.
                                       dba Tesla Motors, Inc., et al.
 3

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